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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


WSOU INVESTMENTS, LLC d/b/a BRAZOS
LICENSING AND DEVELOPMENT,                Case No. 6:20-cv-00482-ADA

           Plaintiff,
                                          JURY TRIAL DEMANDED
     v.

DELL TECHNOLOGIES INC., DELL INC.,
AND EMC CORPORATION,

           Defendants.



        DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
      FIRST AMENDED COMPLAINT FOR FAILURE TO STATE A CLAIM
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                           TABLE OF ABBREVIATIONS



  Abbreviation                                      Term


    ’020 patent      U.S. Patent No. 7,424,020


 Accused Products    Dell Edge Gateways


Amended Complaint
                  First Amended Complaint (D.I. 36)
   or Am. Compl.


    Defendants       Dell Technologies Inc., Dell Inc., and EMC Corporation



     Motion          Defendants’ Motion to Dismiss First Amended Complaint For Failure
                     to State a Claim (D.I. 39)



Opposition or Opp.   Response Opposing Defendants’ Motion to Dismiss Pursuant to
                     Federal Rule of Civil Procedure 12(b)(6) (D.I. 51)


Original Complaint
                     Original Complaint (D.I. 1)
      or Compl.


WSOU or Plaintiff    WSOU Investments, LLC d/b/a Brazos Licensing and Development




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I.     INTRODUCTION

       Plaintiff’s indirect infringement allegations are deficient must be dismissed—this Court

has repeatedly ruled that pre-suit knowledge is required for claims of indirect infringement and

that prior iterations of a complaint cannot provide this knowledge. Yet, despite this clear

precedent, Plaintiff’s only basis for knowledge is a prior complaint that was never served. Unable

to cure this failure, Plaintiff ignores the law of this district and instead discusses various Delaware

cases and willfulness (which is not at issue in this case). Plaintiff cannot avoid the law of this

district or its failure to adequately allege pre-suit knowledge of the patent. Therefore, the Court

should dismiss the Plaintiff’s indirect infringement claims with prejudice.

II.    ARGUMENT

       A.      Plaintiff Fails to State a Claim for Indirect Infringement

               1.      Plaintiff Fails to Plausibly Allege that Defendants Had Pre-Suit
                       Knowledge of the Patent or of Alleged Infringement

       As addressed in Defendants’ Motion, this Court has expressly held that allegations of

knowledge based on a prior filed complaint are not enough to overcome a motion to dismiss. See

Motion at 6–7 (citing Parus Holdings Inc. v. Apple Inc., No. 6:19-cv-432, Feb. 20, 2020 Text

Order GRANTING D.I. 54 (W.D. Tex. Feb. 20, 2020)). Plaintiff attempts to avoid this clear

precedent by incorrectly asserting that “this Court’s ruling in Parus was largely based on

willfulness arguments” and that “there appears to be no clear holding finding pre-filing knowledge

necessary for either indirect infringement or enhanced damages due to willful infringement.” 1

Opp. at 7–8. These assertions are disingenuous at best. The Parus transcript, which Plaintiff


1
 Plaintiff’s Opposition inexplicably spends two pages describing the knowledge requirement for
willfulness for enhanced damages. See Opp. at 7–9 (citing cases). Defendants have never
mentioned willfulness (as Plaintiff has not alleged it) and have not conflated the standard for
willfulness with indirect infringement. Thus, this discussion is completely irrelevant.

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selectively cites (see Opp. at 7–8), makes clear that Defendants argued, and the Court heard, that

pre-suit knowledge was necessary for indirect infringement:

       MR. SNYDER [For Google]: . . . Likewise, for indirect infringement, whether it’s
       contributory infringement or inducing infringement, the mere notice provided by a
       complaint shouldn’t provide that necessary knowledge and intent because merely
       continuing that conduct after you’ve been sued doesn’t provide that knowledge of
       or intent to infringe the patent that is required for either of those types of indirect
       infringement.
WSOU v. Dell Inc. et al., No. 6:20-cv-00477, D.I. 51-1 (Parus Tr.) at 23:9–16 (emphasis added)

(W.D. Tex. Nov. 13, 2020); see also id. at 24:9–14, 50:23–52:24; Parus, No. 6:19-cv-432, D.I. 54

(Motion to Dismiss) at 13 (arguing “knowledge as a result of the plaintiff’s lawsuit is ‘insufficient

to plead the requisite knowledge for indirect infringement’” (citation omitted)). Thus, this Court

considered the lack of pre-suit knowledge for indirect infringement and granted Defendant’s

motion to dismiss its indirect infringement claims. See Parus, No. 6:19-cv-432, Feb. 20, 2020

Text Order GRANTING D.I. 54. Further, if there was any confusion post Parus, this Court has

held that pre-suit knowledge is required in cases that did not involve claims of willful infringement.

See, e.g., Castlemorton Wireless, LLC v. Bose Corporation, No. 6:20-cv-00029-ADA, D.I. 51 at

10–11 (W.D. Tex. July 22, 2020) (granting “Bose’s motion to dismiss Castlemorton’s indirect

infringement claims” because “Castlemorton’s complaint does not plead any facts that would

support an allegation of pre-suit knowledge”). 2

       Moreover, contrary to Plaintiff’s assertion, this Court’s holdings in Castlemorton and

Parus are not at odds with Federal Circuit precedent. See Opp. at 5–7. Plaintiff relies on Aspex

Eyewear and Target Training to assert that pre-suit knowledge should not be required for indirect



2
  Plaintiff’s citation to Parity is not persuasive as this Court has repeatedly addressed indirect
infringement claims on motions to dismiss. See Opp. at 6 (citing Parity Networks, LLC v. Cisco
Systems, Inc., No. 6-19-cv-00207, Dkt. 23, at 3–4 (W.D. Tex. July 26, 2019)).

                                                   2
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infringement because it, in effect, limits claims to pre-suit conduct. See id. Neither of these cases

touches on this issue. Both cases stand for the proposition that “res judicata will not be applied

to” claims that accrue during the pendency of a lawsuit “if the party elects not to have them

included in the action.” Aspex Eyewear, Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335, 1345 (Fed.

Cir. 2012); see Target Training Int’l, Ltd. v. Extended Disc N. Am., Inc., 645 F. App’x 1018, 1026

(Fed. Cir. 2016). Requiring sufficient pleading of pre-suit knowledge is not in any tension with

the idea that a patentee may pursue claims for infringement that continues beyond the case filing

or that res judicata will not apply to these claims. Thus, this Court’s precedent is fully consistent

with Federal Circuit precedent and with the knowledge requirement itself. See Brandywine

Commc’ns Techs., LLC v. T-Mobile USA, Inc., 904 F. Supp. 2d 1260, 1268–69 (M.D. Fla. 2012).

       Despite Plaintiff’s attempts, it cannot ignore the law of this Court and this district. 3 Like

the allegations in Parus, WSOU’s allegations of knowledge are limited to references to a prior

filed complaint and thus fail to state a claim for indirect infringement. See Motion at 7–8. And,

to make matters worse, this prior complaint was never served and thus it cannot provide the basis

for pre-suit knowledge, especially since the Amended Complaint at issue here does not even allege

that Defendants were provided a copy of the unserved complaint. See id. As such, Plaintiff’s

failure to raise a plausible inference of pre-suit knowledge of the patent and knowledge of



3
   Plaintiff’s Opposition (at 3–7) spends five pages discussing Delaware and E.D. Texas case law
and distinguishing VLSI Tech. LLC v. Intel Corp., CV 18-966-CFC, 2019 WL 1349468, (D. Del.
Mar. 26, 2019). Like its analysis regarding willfulness, this entire discussion is irrelevant. The
law of this Court and this district is clear. The knowledge requirement for indirect infringement
requires pre-suit knowledge and this knowledge cannot be based on a prior iteration of the
complaint. See Motion at 7–8. Moreover, Plaintiffs’ own case, Nalco Co. v. Chem-Mod, LLC,
actually suggests that allegations of pre-suit knowledge are required for indirect infringement. See
883 F.3d 1337, 1357 (Fed. Cir. 2018) (holding the knowledge requirement for contributory
infringement was satisfied where plaintiff “pled facts to show Defendants’ knowledge, prior to
filing of the suit, of the ’692 patent.”) (emphasis added).

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infringement is fatal to its indirect infringement claims, and these claims should be dismissed.

               2.      Plaintiff Fails to Plead Facts that Plausibly Show the Defendants Had
                       a Specific Intent to Cause Another to Directly Infringe

       Plaintiff’s Opposition merely repeats its conclusory allegation that Defendants induce

infringement by “advertising and promoting the use of the Accused Products in various websites,

including providing and disseminating product descriptions, operating manuals, and other

instructions on how to implement and configure the Accused Products.” Opp. at 10 (quoting Am.

Compl., ¶ 30). Notably, Plaintiff has no response to Defendants’ assertion that it has not presented

any facts to support this statement or any “facts that would allow a court to reasonably infer that

Defendants had the specific intent to induce infringement.” 4 Addiction & Detoxification Inst.

L.L.C. v. Carpenter, 620 F. App’x 934, 938 (Fed. Cir. 2015) (emphasis added). Plaintiff’s

conclusory allegations are directed to—if anything—general intent to cause acts of infringement,

but are simply not enough to sufficiently plead specific intent. See Motion at 8–9.

               3.      Plaintiff Has No Factual Basis to Allege That the Asserted Products
                       Have No Substantial Non-infringing Uses

        Defendants identified WSOU’s conclusory allegations regarding non-infringing uses.



4
  Plaintiff’s cited cases (see Opp. at 10–11), are all distinguishable for the simple reason that the
pleadings at issue in those cases contained more than a single conclusory statement that Defendants
generally instruct users how to configure their products. See Nalco, 883 F.3d at 1355 (finding
“[t]he 4AC alleges facts that plausibly show Defendants specifically intended their customers to
infringe”); Script Security Solutions L.L.C. v. Amazon.com, Inc., 170 F. Supp. 3d 928, 936–37
(E.D. Tex. 2016) (finding facts relating to pre-suit knowledge and willful blindness that supported
induced infringement); Canon, Inc. v. TCL Electronics Holdings Ltd., No. 2:18-CV-00546-JRG,
2020 WL 1478356, *5–6 (E.D. Tex. Mar. 25, 2020) (finding allegations that the “creation and
dissemination” of certain documents “with knowledge and the specific intent that their efforts will
result in the direct infringement” supported specific intent); Motiva Patents, LLC v. Sony Corp.,
408 F. Supp. 3d 819 (E.D. Tex. Sept. 27, 2019) (finding allegations of a contractual relationship,
directing customers, and advertising where “Defendant is aware that the normal and customary
use of the accused products by Defendant's customers would infringe the Asserted Patent”
supported specific intent).

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Plaintiff’s only response is attorney argument stating, without citation, that it “specifically

identifies example infringing features and components of the accused product.” Opp. at 12.

Plaintiff’s boilerplate recitation of the legal requirement for contributory infringement should be

rejected. Plaintiff has not pled facts to support a plausible inference of no substantial non-

infringing uses and its contributory infringement claim should be dismissed. 5

       B.      Plaintiff Should Not Be Permitted to Amend

       Plaintiff has now had three chances to file a complaint that actually pleads a plausible basis

to claim indirect infringement. D.I. 1; D.I. 36; Case No. 6:20-cv-412 (W.D. Tex. May 20, 2020),

D.I. 1. Defendants have filed two motions to dismiss. D.I. 33; D.I. 39. Plaintiff still cannot come

up with any basis to allege indirect infringement. In view of these circumstances it would be futile

to allow Plaintiff a fourth bite at the apple with another amended complaint. The indirect

infringement claims should be dismissed without leave to amend. See Marucci Sports, L.L.C. v.

Nat’l Collegiate Athletic Ass’n, 751 F.3d 368, 378 (5th Cir. 2014) (affirming denial of a motion to

amend because “granting [plaintiff’s] motion to amend would have been futile”).

III.   CONCLUSION

       For the foregoing reasons and the reasons in Defendants opening brief, Defendants

respectfully request that the Court grant their motion and dismiss Plaintiff’s indirect infringement

claims for failure to plausibly state a claim for relief, without leave to amend. Pursuant to L.R.

CV-7(h), Defendants request an oral hearing on the foregoing motion.




5
  Again, Plaintiff’s cited cases are inapplicable. See Opp. at 11–12. This case is not like Ricoh,
Motiva, or Lucent Techs. where the accused feature was embedded in some large product with
additional features or where the accused software had other uses. See Ricoh Co. v. Quanta
Computer Inc., 550 F.3d 1325, 1337 (Fed. Cir. 2009); Motiva Patents, 408 F. Supp. 3d at 835;
Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1320–1321 (Fed. Cir. 2009).

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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on this 20th day of November 2020, all counsel of record

who are deemed to have consented to electronic service are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(b)(1).

                                                         /s/ Barry K. Shelton

                                                         Barry K. Shelton




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